Case: 4:20-cv-01227-JAR Doc. #: 110 Filed: 06/06/22 Page: 1 of 4 PageID #: 3875




                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

TAMIA BANKS., et al.,                              )
on behalf of themselves and all others             )
similarly situated,                                )
                                                   )
               Plaintiffs,                         )
                                                   )
vs.                                                )
                                                   )
COTTER CORPORATION, et al.,                        )
                                                   )
               Defendants.                         )
                                                       Civil Action No. 4:20-CV-01227
                                                   )
                                                   )
COTTER CORPORATION (N.S.L.)                        )
                                                   )
               Third-Party Plaintiff               )
                                                   )
v.                                                 )
                                                   )
MALLINCKRODT LLC, et al.,                          )
                                                   )
                Third-Party Defendants             )

                                    JOINT STATUS REPORT

        COME NOW, Plaintiffs, Defendants, and Third-Party Defendant (the “Parties”) to

jointly submit this status report in response to the Court’s Memorandum and Order granting

Plaintiffs’ and Defendants’ Joint Motion for Stay of Proceedings (ECF 99) and requiring that a

Joint Status Report be filed with the Court not later than June 6, 2022, and every sixty (60) days

thereafter.


        As anticipated, the Plaintiffs filed a petition for writ of certiorari with the United States

Supreme Court related to Banks, et al. v. Cotter Corp., et al., Case No. 4:20CV1227 JAR (E.D.

Mo.) and In re Cotter Corp. (N.S.L.), 22 F. 4th 788 (8th Cir. 2022) on May 11, 2022, and the
Case: 4:20-cv-01227-JAR Doc. #: 110 Filed: 06/06/22 Page: 2 of 4 PageID #: 3876




case was docketed with the United States Supreme Court on May 13, 2022. Any response by

Cotter Corporation (N.S.L.) will be due June 13, 2022, and a decision by the Court is pending.


       As ordered, the Parties will provide another joint status report within sixty (60) days of

this report or within ten (10) days of the United States Supreme Court’s decision on the petition

for writ of certiorari related to Banks, et al. v. Cotter Corp., et al., Case No. 4:20CV1227 JAR

(E.D. Mo.) and In re Cotter Corp. (N.S.L.), 22 F. 4th 788 (8th Cir. 2022).


       Counsel for Plaintiffs advise the Court that Stuart H. Smith passed away on May 20,

2022. All counsel and clients have been notified.


Dated: June 6, 2022,                         Respectfully submitted,

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                                                2
Case: 4:20-cv-01227-JAR Doc. #: 110 Filed: 06/06/22 Page: 3 of 4 PageID #: 3877




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                                       3
Case: 4:20-cv-01227-JAR Doc. #: 110 Filed: 06/06/22 Page: 4 of 4 PageID #: 3878




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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on June 6, 2022, a true and correct copy of the

foregoing was served on all counsel of record via electronic mail.

                                                    /s/ Ryan A. Keane
                                                    Attorney for Plaintiffs




                                                4
